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                              United States District Court
                              Eastern District of Michigan
                                   Southern Division

United States of America,
                                               Criminal Case No: 19-cr-20026
             Plaintiff,
                                               Hon. Gershwin A. Drain
v.

D-3 Phanideep Karnati,


             Defendant.


                          Third Forfeiture Bill of Particulars


      The United States of America, by and through its counsel, submits this Third

Forfeiture Bill of Particulars pursuant to Rule 7(f) of the Federal Rules of Criminal

Procedure to supplement the criminal forfeiture allegations included in the

Indictment and Forfeiture Bill of Particulars, and to list specific property that the

United States intends to forfeit upon Defendants’ conviction. (Dkt. Nos. 1, 70, 72.)

      This Third Forfeiture Bill of Particulars incorporates by reference, in its

entirety, the Indictment, specifically the Forfeiture Allegation, as well as the

property set forth in the First and Second Forfeiture Bill of Particulars (Dkt. No. 70

and 72).
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      Upon being convicted of violating 18 U.S.C. § 371 as charged in Count One

of the Indictment, Defendant Phanideep Karnati shall forfeit to the United States

any property which constitutes, or is derived from, proceeds obtained directly or

indirectly as a result of such violations, pursuant to 18 U.S.C. § 982(a)(6) and/or

18 U.S.C. § 981(a)(1)(C), together with 28 U.S.C. § 2461. As noted in the Second

Forfeiture Bill of Particulars, the United States will seek the forfeiture of

Defendant’s interest of criminal proceeds traceable to Real Property located at

10808 Symington Circle, Louisville, KY 40241.

      Additionally, the United States will seeks the imposition of a personal

forfeiture money judgment against Defendant Phanideep Karnati in favor of

the United States, in the amount of $30,123.42, representing the total amount of

proceeds obtained as a result of Defendant’s violation of Count One of the

Indictment. The forfeiture money judgment will be reduced by any net proceeds of

Real Property located 10808 Symington Circle, Louisville, KY 40241, forfeited to

the United States.

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      This notice does not limit the Government from seeking the forfeiture of

additional specific property, including substitute assets, or limit the Government

from seeking the imposition of additional forfeiture money judgments.

                                              Respectfully submitted,

                                              Matthew Schneider
                                              United States Attorney

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Dated: August 21, 2019




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                              Certificate of Service

      I hereby certify that on August 21, 2019, the foregoing was electronically

filed using the ECF system which will send notification of such filing to all ECF

participants.


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